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     In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 18-1516V
                                         UNPUBLISHED


    DIANE TOBIN,                                              Chief Special Master Corcoran

                         Petitioner,                          Filed: February 26, 2020
    v.

    SECRETARY OF HEALTH AND                                   Special Processing Unit (SPU); Joint
    HUMAN SERVICES,                                           Stipulation on Damages; Influenza
                                                              (Flu) Vaccine; Shoulder Injury
                        Respondent.                           Related to Vaccine Administration
                                                              (SIRVA)


Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for petitioner.

Christine Mary Becer, U.S. Department of Justice, Washington, DC, for respondent.


                               DECISION ON JOINT STIPULATION1

        On October 1, 2018, Diane Tobin filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccine administered on
September 28, 2016. Petition at 1; Stipulation, filed February 25, 2020, at ¶¶ 1-2.
Petitioner further alleges that the vaccine was administered within the United States;
that she experienced the residual effects of her injury for more than six months; and that
there has been no prior award or settlement of a civil action for damages on her behalf
as a result of her condition. Petition at 1, 3; Stipulation at ¶¶ 3-5. “Respondent denies
that petitioner suffered a SIRVA Table injury, and denies that the flu vaccine caused
petitioner to suffer from a left shoulder injury or any other injury or her current condition.”
Stipulation at ¶ 6.

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the decision will be available to anyone with access
to the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        Nevertheless, on February 25, 2020, the parties filed the attached joint
stipulation, stating that a decision should be entered awarding compensation. I find the
stipulation reasonable and adopt it as my decision awarding damages, on the terms set
forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $62,900.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under § 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision.3

IT IS SO ORDERED.


                                          s/Brian H. Corcoran
                                          Brian H. Corcoran
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS

                                                )
 DIANE TOBIN,                                   )
                                                )
                Petitioner,                     )
                                                )      No. 18-1516V
        V.                                      )      Chi ef Special Master Corcoran
                                                )      ECF
 SECRETARY OF HEALTH AND                        )
 HUMAN SERVICES,                                )
                                                )
                Respondent.                     )
________________)
                                          STIPULATION

        The parties hereby stipulate to the following matters:

        1. Diane Tobin, petitioner, filed a petition for vaccine compensation under the National

Vaccine Injury Compensation Program, 42 U.S.C. §§ 300aa-10 to -34 (the "Vaccine Program").

The petition seeks compensation for injuries allegedly related to petitioner's receipt of an

influenza ("flu") vaccine, which vaccine is contained in the Vaccine Injury Table (the "Table"),

42 C.F.R. § 100.3 (a).

       2. Petitioner received the flu vaccine on September 28, 2016.

       3. The vaccination was administered within the United States.

       4. Petitioner alleges that she sustained a shoulder injury related to vaccine administration

("SIR VA") within the time period set forth in the Table, or in the alternative, that her alleged

shoulder injuries ,,.,·ere caused by the vaccine. She further alleges that she experienced the

residual effects of her alleged injuries for more than six months.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on her behalf as a result ofher condition.
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         6. Respondent denies that petitioner suffered a SIRVA Table injury, and denies that the

 flu vaccine caused petitioner to suffer from a left shoulder injury or any other injury or her

 current condition.

         7. Maintaining their above-stated positions, the parties neve1theless now agree that the

 issues between them shall be settled and that a decision should be entered awarding the

 compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-2l(a)(l), the Secretary of Health and Human Services will issue

the following vaccine compensation payment:

        A lump sum of $62,900.00 in the form of a check payable to petitioner. This
        amount represents compensation for all damages that would be available under 42
        U.S.C. § 300aa-15(a).

        9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to

42 U.S.C. § 300aa-21(a)(l), and an application, the parties will submit to further proceedings

before the special master to award reasonable attorneys' fees and costs incurred in proceeding

upon this petition.

        10. Petitioner and her attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under 42 U;S.C. § 300aa- l 5(g), to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs, insurance policies, Federal or

State health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C.

§ 1396 et seq.)), or by entities that provide health services on a pre-paid basis.



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         11. Payment made pursuant to paragraph 8 of this Stipulation and any amounts awarded

 pursuant to paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C . § 300aa-

 15(i), subject to the availability of sufficient statutory funds .

         12. The parties and their attorneys further agree and stipulate that, except for any award

 for attorneys' fees and litigation costs, and past unreimbursed expenses, the money provided

 pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

 strict construction of 42 U.S.C. § 300aa-l 5(a) and (d), and subject to the conditions of 42 U.S .C.

 § 300aa-15(g) and (h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity, and on behalf of her heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have b een brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300aa-l O et seq ., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, the flu vaccination administered on September 28, 20 16,

as alleged by petitioner in a petition for vaccine compensation filed on or about October 1, 2018 ,

in the United States Court of Federal Claims as petition No. 18-1516V.

        14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Com1 on behalf of either or both of the parties.




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            15. If the special master fails to issue a decision in complete conformity with the terms

    of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

    decision that is in complete conformity with the terms of this Stipulation, then the parties'

    settlement and this Stipulation shall be voidable at the sole discretion of either party.

            16. This Stipulation expresses a full and complete negotiated settlement of liability and

    damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

    as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

    parties hereto to make any payment or to do any act or thing other than is herein expressly stated

    and clearly agreed to. The parties further agree and understand that the award described in this

    Stipulation may reflect a compromise of the parties ' respective positions as to liability and/or

    amount of damages, and further, that a change in the nature of the injury or condition or in the

    items of compensation sought, is not grounds to modify or revise this agreement.

           17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner to have a left

shoulder injury or any other injury or her current condition.

           18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                        END OF STIPULATION

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 Respectfully submitted,

 PETITIONER:



 DIANE TOBIN


 ATTORNEY OF RECORD FOR                    AUTHORIZED REPRESENTATIVE
 PETITIONER:                               OF THE ATTORNEY GE1"ERAL:

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p~¥)
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OF THE SECRETARY OF HEAL TH                RESPONDENT:
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Dated:   J, / ~5 / Jo




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